                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:13-00209
                                                  )      JUDGE CAMPBELL
JUAN COLLAZO                                      )

                                          ORDER

       Pending before the Court is a Motion for Leave to Allow Manual Sealed Filing of a Flash

Drive Containing 55 Images Taken from Juan Collazo’s Cell Phone. (Docket No. 106). The Motion

is GRANTED.

       It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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